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                               EXHIBIT D

            NOTICE OF ASSUMPTION AND ASSIGNMENT
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

In re:                                               )           Chapter 11
                                                     )
EAT HERE BRANDS, LLC, et al.1,                       )           Lead Case No. 19-61688-WLH
                                                     )
                 Debtors.                            )           Jointly Administered
                                                     )

              NOTICE OF POTENTIAL ASSUMPTION AND ASSIGNMENT
         OF DESIGNATED EXECUTORY CONTRACTS AND UNEXPIRED LEASES

PLEASE TAKE NOTICE OF THE FOLLOWING:

        On July 30, 2019 (the “Petition Date”), Eat Here Brands, LLC, Babalu Atlanta #1 LLC,
Babalu Atlanta #2 LLC, Babalu Knoxville #1 LLC, Babalu Memphis #1 LLC, Babalu Memphis
#2 LLC, Babalu, LLC, and Babalu Birmingham #1 LLC (collectively, the “Debtors”) each filed
voluntary petitions under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Northern District of Georgia (the “Court”).
On September 10, 2019, the Debtors filed with the Court a motion [Docket No.           ] (the “Sale
Motion”) seeking, among other things, (a) authority to sell substantially all of the assets
(the “Assets”) of the Debtors free and clear of all liens, claims, interests, and encumbrances
(the “Sale”); (b) approval of certain bidding procedures (the “Bid Procedures”) for the
solicitation of bids with respect to the proposed Sale of the Assets (the “Bid Procedures Relief”);
(c) scheduling an auction related to the proposed Sale of the Assets; and (d) scheduling a final
hearing with the Court for approval of the proposed Sale of the Assets.

        On September 26, 2019 at 1:30 p.m., the Court held a hearing on the Bid Procedures
Relief, and thereafter the Court entered an order that, among other things, approved the Bid
Procedures Relief [Docket No.           ] (the “Bid Procedures Order”).2

       Pursuant to the Bid Procedures Order the Court scheduled a final hearing to consider
approval of the proposed Sale of the Assets in Courtroom 1403, United States Courthouse,
75 Ted Turner Drive SW, Atlanta, GA 30303 on October 18, 2019 at :          .m. (Eastern)
(the “Sale Hearing”).



1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta
#2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1 LLC (9320); Babalu Memphis #2 LLC
(4558); Babalu, LLC (7673); and Babalu Birmingham #1 LLC (1892). The Debtors’ mailing address is 9755
Dogwood Road, Suite 200, Roswell, Georgia 30075.
2
        All capitalized terms not defined in this Notice of Potential Assumption and Assignment shall have the
meaning given to them in the Bid Procedures Order.


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       Pursuant to the Bid Procedures Order, the Debtors hereby provide notice that the
executory contracts and unexpired leases identified on Exhibit A to this Notice of Potential
Assumption and Assignment are “Designated Executory Contracts” under the Bid Procedures
Order, which means that they have been identified for assumption, assignment and/or transfer in
connection with the proposed Sale of the Assets.

        Any non-debtor party to a Designated Executory Contract listed on Exhibit A to this
Notice of Potential Assumption and Assignment may object to: (i) its scheduled Cure Amount,
(ii) adequate assurance of future performance; and/or (iii) the assumption, assignment and/or
transfer of such Designated Executory Contract.

      OBJECTIONS TO ANY RELIEF RELATED TO THE ASSUMPTION AND
ASSIGNMENT OF THE DESIGNATED EXECUTORY CONTRACTS TO THE
SUCCESSFUL BIDDER (EACH, AN “OBJECTION”), MUST BE MADE IN WRITING,
FILED, AND SERVED ON THE PARTIES IDENTIFIED BELOW SO AS TO BE
ACTUALLY RECEIVED BY 4:00 P.M. (EASTERN) ON OCTOBER 15, 2019
(THE “OBJECTION DEADLINE”).

       ANY OBJECTION MUST BE SERVED IN ACCORDANCE WITH THE
PRECEDING PARAGRAPH ON EACH OF THE FOLLOWING PARTIES: (a) counsel to
the Debtors, Arnall Golden Gregory LLP, 171 17th Street, N.W., Suite 2100, Atlanta, Georgia
30363-1031, Attn: Darryl Laddin; (b) counsel to the Stalking Horse Bidder, 999 S. Shady Grove
Road, Suite 500, Memphis, Tennessee 38120, Attn: John A. Bobango; (c) counsel for Origin
Bank, Morris, Manning & Martin, LLP, 3343 Peachtree Road, N.E., Suite 1600, Atlanta,
Georgia 30326, Attn. Frank W. DeBorde, (d) counsel for the Official Committee of Unsecured
Creditors, Scroggins & Williamson, P.C., 4401 Northside Parkway, Suite 450, Atlanta, Georgia
30327, Attn. Hayden Kepner, Jr.; and (e) the Office of the United States Trustee, 75 Ted Turner
Drive, S.W., Room 362, Atlanta, Georgia 30303.

     ANY OBJECTION, IF ANY, SHALL BE HEARD BY THE COURT AT THE
SALE HEARING OR SUCH OTHER HEARING SCHEDULED BY THE COURT.

       Any non-debtor party to a Designated Executory Contract listed on Exhibit A to this
Notice of Potential Assumption and Assignment may seek information regarding the adequate
assurance of future performance from Balu Holdings, LLC (the “Stalking Horse Bidder”)
by contacting the Stalking Horse Bidder’s counsel at: 999 S. Shady Grove Road, Suite 500,
Memphis, Tennessee 38120, 901-259-7100, Attn: John A. Bobango.

       The Debtors and the Stalking Horse Bidder hereby each reserve the right to make further
modifications or changes to the list of executory contracts and unexpired leases included in this
Notice of Potential Assumption and Assignment through and including October 18, 2019.

     ANY COUNTERPARTY TO A DESIGNATED EXECUTORY CONTRACT OR
UNEXPIRED LEASE WHO FAILS TO TIMELY FILE AND SERVE AN OBJECTION TO (I)
ITS SCHEDULED CURE AMOUNT, (II) ADEQUATE ASSURANCE OF FUTURE
PERFORMANCE; AND/OR (III) THE ASSUMPTION, ASSIGNMENT AND/OR TRANSFER
OF SUCH DESIGNATED EXECUTORY CONTRACT IN ACCORDANCE WITH THE BID


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PROCEDURES ORDER SHALL BE FOREVER BARRED FROM ASSERTING ANY
OBJECTION TO THE ASSUMPTION AND ASSIGNMENT OF THE DESIGNATED
EXECUTORY CONTRACT AND/OR THE CURE AMOUNT RELATING TO ANY PERIOD
PRIOR TO THE TIME OF THE ASSUMPTION AND ASSIGNMENT.


Dated September   , 2019

                                   ARNALL GOLDEN GREGORY LLP
                                   /s/ Darryl S. Laddin
                                   Darryl S. Laddin
                                   Georgia Bar No. 460793
                                   Sean C. Kulka
                                   Georgia Bar No. 648919
                                   171 17th Street, N.W., Suite 2100
                                   Atlanta, Georgia 30363-1031
                                   Phone: (404) 873-8500
                                   Fax: (404) 873-8683
                                   Email: darryl.laddin@agg.com
                                   Email: sean.kulka@agg.com

                                   Attorneys for Debtors and Debtors in Possession




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                                                                                          Exhibit A

Counterparty                               Address                      City                 State         Zip         Description of                  Estimated         [BUYER’S]
                                                                                                                       Agreement                       Cure Cost         Designated
                                                                                                                                                                         Executory
                                                                                                                                                                         Contracts1




1
 [NAME OF BUYER] reserves the right to make changes to its Designated Executory Contracts list detailed herein through and including October 18, 2019 by filing a notice on the docket in the
Debtors’ bankruptcy cases and serving such notice on any interested parties.

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